 

 

 

Case 20-13252 Doc1 Filed 03/11/20 Page 1 of 49

  

   

Fill in this information to identify your case:

| United States Bankruptcy Court for the:
i i

Districtof

Case number (if known): 20 - ; LS we Chapter you are filing under: FY 0 [ 3¢ q 3 | ° : . _

Chapter 7 i :

CQ Chapter 11 | -
C1 Chapter 12 i / i

i
i
i
i
j

C}-Check if this is an
amended filing

CQ) Chapter 13

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/17

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debfor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

[Part a: Identify Yourself

 

 

 

 

 

Bring your picture
identification to your meeting = Last name Last name
with the trustee.

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

Write the name that is on your Tyeisha

government-issued picture - -

identification (for example, First name First name

your driver's license or

passport). Middle name Middle name :
Jones

 

 

 

 

 

 

 

 

Suffix (Sr., Jr., H, tit) Suffix (Sr., Jr, i, Il)
| 2. All other names you
have used in the last 8 First name First name
years
Include your married or Middle name Middte name
maiden names. , :
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of |
' your Social Security wx — xx-_ 8 4° 0 7 XK HH
number or federal OR OR
Individual Taxpayer 9 9
identification number RR OK RX XK
(ITIN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 

 

 
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Debtor 1 Tyeisha Jones Case number (i known)
First Name Middle Name Last Name
About Debtor 1: About Debtor 2 (Spouse Only ina Joint Case):

| 4 Any business names

_ and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

id I have not used any business names or EINs.

 

Business name

 

Business name

EIN

EIN

(J i have not used any business names or EINs.

 

Business name

 

Business name

EIN

EIN”

 

i

5. Where you live

6130 Fairdel Avenue

If Debtor 2 lives at a different address:

 

 

 

 

 

 

 

 

Number Street Number Street

Apartment TC

Baltimore MD 21206

City State ZIP Code City State ZIP Code
Baltimore City

County County

If your mailing address is different from the one
above, fill it in here. Note that the court wil! send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

Number Street Number Street
P.O. Box P.O. Box
City State ZIP Code City State ZIP Code
|6. Why you are choosing Check one: Check one:
this district to file for
bankruptcy A over the iast 180 days before filing this petition, C) Over the last 180 days before filing this petition,

| have lived in this district fonger than in any
other district.

C2 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

| have lived in this district longer than in any
other district.

C | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 
Debtor 1

Tyeisha

First Name

Middle Name

 

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Jones

Last Name

Case number (if known)

ea Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under 4 Chapter 7
C) Chapter 11
(J Chapter 12
Q) Chapter 13
8. How you willpaythe fee (1 I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
4 | need to pay the fee in installments. if you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).
() | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). {f you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.
9. Have you filed for WNo
bankruptcy within the a
last 8 years? C) Yes. District When eT DOT WW Case number
District When Case number
MM / DD /YYYY
District When Case number
MM / DD /YYYY
10. Are any bankruptcy @ No
cases pending or bein
filed by a spouse who S LI Yes. Debtor Relationship to you
not filing this case with District When Case number, if known.
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known,
MM /DD/YYYY
11. Do you rent your LI No. Go to line 12.
residence? (4 Yes. Has your landlord obtained an eviction judgment against you?

Official Form 101

4 No. Go to line 12.

Q Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 
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Jones

Last Name

Tyeisha

First Name

Debtor 1 Case number (i known),

 

Middle Name

Report About Any Businesses You Own as a Sole Proprietor

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12. Are you a sole proprietor (4 No. Goto Part 4.

13.

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

L] Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

City State ZIP Code
Check the appropriate box to describe your business:

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))

] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

(J) Stockbroker (as defined in 11 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

LJ None of the above

 

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of small

business debtor, see
11 U.S.C. § 101(51D).

a Report if You Own

14. Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

 

 

If you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it
can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

UW No. 1am not filing under Chapter 11.

QQNo. lam filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

Yes. }am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

or Have Any Hazardous Property or Any Property That Needs Immediate Attention

iA No
(J Yes. Whatis the hazard?

 

 

if immediate attention is needed, why is it needed?

 

 

Where is the property?

 

 

 

Number Street
City State ZIP Code
Voluntary Petition for Individuals Filing for Bankruptcy page 4

 
 

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Debtor 4 Tyeisha Jones

First Name Middle Name Last Name

Case number (i known)

aa Explain Your Efforts to Receive a Briefing About Credit Counseling

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

15. Tell the court whether
you have received a
briefing about credit
counseling.

You must check one: You must check one:

Wd I received a briefing from an approved credit LD | received a briefing from an approved credit

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

LJ I received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but 1 do not have a

certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment

plan, if any.

Ohi certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent

circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining

what efforts you made to obtain the briefing, why

you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.

You must file a certificate from the approved

agency, along with a copy of the payment plan you

developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

C) 1 am not required to receive a briefing about
credit counseling because of:

OQ Incapacity. | have a mental illness or a mental

deficiency that makes me

incapable of realizing or making
rational decisions about finances.

(2 Disability. My physical disability causes me

to be unable to participate in a

briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

C) Active duty. | am currently on active military

duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a

motion for waiver of credit counseling with the court.

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(J t received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but I do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any. :

. UD I certify that 1 asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

(1am not required to receive a briefing about

credit counseling because of:

CQ) incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C1 Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after !
reasonably tried to do so.

C} Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Filing for Bankruptcy page 5

 
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Debtor 1 Tyeisha

Jones

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First Name Middie Name

| Part 6: | Answer These Questions for Reporting Purposes

Last Name

Case number (it known)

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

LC] No. Go to line 16b.
id Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

LJ No. Go to line 16c.
Q) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

LJ No. [am not filing under Chapter 7. Go to line 18.

Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and No
administrative expenses
are paid that funds will be Cl Yes
available for distribution
to unsecured creditors?
18. How many creditorsdo 1-49 OQ) 1,000-5,000 CQ) 25,001-50,000
you estimate that you U) 50-99 {3 5,001-10,000 CQ) 50,001-100,000
owe? UL 100-199 (3 10,001-25,000 (J More than 100,000
L) 200-999
19. How much do you 4 $0-$50,000 C) $1,000,001-$10 million ( $500,000,001-$1 billion

estimate your assets to
be worth?

CJ $50,001-$100,000
(J) $100,001-$500,000
(2 $500,001-$1 million

(2 $10,000,001-$50 million
(2 $50,000,001-$100 million
CJ $100,000,001-$500 million

(3 $1,000,000,001-$16 billion
(2 $10,000,000,001-$50 billion
() More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

itlawe Sign Below

2 $0-$50,000

CJ $50,001-$100,000
C] $100,001-$500,000
CY $500,001-$1 million

CQ $1,000,001-$10 million

CJ $10,000,001-$50 million
LJ $50,000,001-$100 mitlion
C3 $100,000,001-$500 million

(2 $500,000,001-$1 billion

(J $1,000,000,001-$10 billion
C2 $10,000,000,001-$50 bition
(CJ More than $50 billion

 

For you

Officiat Form 101

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who is not an attomey to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

1 understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankrupicy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

* Oak, a

natu of Debtor V

Executed on Ze
MM 4 DD /YYYY

Voluntary Petition for Individuals Filing for Bankruptcy

x

 

Signature of Debtor 2

 

Executed on

page 6

 

 
 

Debtor1  lyeisha

 

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Jones Case number (i known)

 

First Name Middle Name Last Name

 

 

 

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

 

Official Form 101

 

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankrupicy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

(J No
d Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

[No
id Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
L No

Yes. Name of Person Tawana Lee .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

x up Ny x

 

Signature Pf Debto; Signature of Debtor 2

  

 

 

 

 

 

Date Date
MM/ DD /YYYY
Contact phone (443) 531-4026 Contact phone
Celi phone Cell phone
Email address Email address

 

 

Voluntary Petition for Individuals Filing for Bankruptcy page 8

 
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Fill in this information to identify your case:

Debtor 4 Tyeisha Jones

First Name Middle Name Last Name
Debtor 2 Se a,
(Spouse, if filing) First Name Middle Name Last Name Qf -

 

United States Bankruptcy Courtforthe: ss Céisttrictof_— oe

Case number -’ (Check if this is an
{if known) amended filing

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information, Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own

- 1. Schedule A/B: Property (Official Form 106A/B)

 

 

 

 

 

 

1a. Copy line 55, Total real estate, from Schedule A/B........ecsecssessesssescscecesececeseenseesesesesesuassvsecesseauacsessnesscsecseeseqeaeaceeneessavens $ ______0.00
1b. Copy line 62, Total personal property, from Schedule A/B.........:cccccccccccesssescessseesssssssescesspssasssanecessevsnessesuseascasecasesnacaresaes $ 1,194.00
1c. Copy line 63, Total of all property on Schedule A/B oo... cee eessesssscesessenseeseetseesescsssessnsesescansusescseageesnsnsseeesesseeseseresetensenees $ 1,194.00
EERE cenrarize Your Liabilities
: Your tiabilities

Amount you owe
_ 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ 0.00
| 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 5 0.00

3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F ........cccecesceccseseneesesecsceceees

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......ccccceseesssesssessssestevenee

+5 26,649.00

 

 

 

 

 

Your total liabilities g___ 26,649.00
Summarize Your income and Expenses
_ 4. Schedule I: Your Income (Official Form 1061) 3 984.00
Copy your combined monthly income from line 12 Of SCHEQUIC I .........csssccesssesecscesseecssseenessscacsseusvesseevstassseatasatacarseeevensacats $e
_ 5. Schedule J: Your Expenses (Official Form 1064)
Copy your monthly expenses from line 22¢ Of SCHECUIE J o........eeccssecssessssesessscesepecseseesesssseansuensseuaesseucseusseuusnsssatcausansaesseeaea $ ___ 3,655.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 
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Debtor 1 Tyeisha Jones Case number (if known)
First Name Middle Name Last Name

Answer These Questions for Administrative and Statistical Records

 

 

- 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

yeu have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

_ 7. Whafkind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

Cl Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules,

 

 

 

_ 8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 4,131.00

 

 

 

_ 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F-

Total claim

From Part 4 on Schedule E/F, copy the following:

 

9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
Qd. Student loans. (Copy line 6f.) $ 10,876.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 10,876.00

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
 

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Fill in this information to identify your case and this filing:

Debtor1  lyeisha Jones

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number

 

 

 

 

 

Official Form 106A/B
Schedule A/B: Property

 

C) Check if this is an
amended filing

12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

Ca Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

WY No. Go to Part 2.
LJ Yes. Where is the property?
What is the property? Check ail that apply.
LJ) Single-family home
‘ Street address, if available, or other description a Duplex or multi-unit building
CD Condominium or cooperative

O) Manufactured or mobile home
CJ Land

Q Investment property

L) Timeshare

CQ Other

 

 

 

City Siate ZIP Code

 

Who has an interest in the property? Check one.

(2) Debtor 4 only
County Q) Debtor 2 only
U Debtor 1 and Debtor 2 only
C1 At least one of the debtors and another

 

Do.not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule.D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

CJ Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

If you own or have more than one, list here:
What is the property? Check all that apply.
J] Single-family home

‘2 Street address, if available, or other description O Duplex or multi-unit building

( Condominium or cooperative

() Manufactured or mobile home

Q) Land

CQ) investment property

LJ Timeshare

© other

 

 

 

City State ZIP Code

 

Who has an interest in the property? Check one.

CQ Debtor 4 only
County CO) Debtor 2 only
CJ Debtor 1 and Debtor 2 only
(J Atieast one of the debtors and another

 

Do not.deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?
$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

C) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B Schedule A/B: Property

page 1

 
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Debtor 1 Tyeisha Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

First Name Middle Name Last Name
What is the property? Check ail that apply. Do not deduct secured claims or exemptions. Put
incle-fami the amount of any secured claims on Schedule D:
1.3. Q Single-family home , Creditors Who Have Claims Secured by Property.
Street address, if available, or other description aa Duplex or multi-unit building : : :
{J Condominium or cooperative Current value of the Current value of the
() Manufactured or mobile home entire property? Portion you own?
) Land $ $
C) investment property
City Stale zIP Code J Timeshare Describe the nature of your ownership
Q interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
C) Debtor 1 only
County C Debtor 2 only
CJ Debtor 1 and Debtor 2 only Q) Check if this is community property
(.) At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages 5 0.00
you have attached for Part 1. Write that number here. .............c.cccccceceeeccsceeseceneuseceensecerasecesevasutsauenseceessseuananseres > a

 

 

 

ra Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicies
you own that someone else drives. !f you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

id No
(J Yes
3.1. Make: Who has an interest in the property? Check one. 9 not deduct secured claims or exemptions. Put
the amount of any secured-claims on Schedule D:
Model: Q) Debtor 1 only Creditors Who Have Claims.Secured by Property:
. (CQ Debtor 2 only : os :
Year: ——____—. (2 Debtor 4 and Debtor 2 only Current value of the Current value of the
Approximate mileage: (J At least one of the debtors and another entire property? Portion you own?
Other information:
C} Check if this is community property (see $ §
instructions)
u
If you own or have more than one, describe here:
3.2. Make: Who has an interest in the property? Check one. —_ not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: LI Debtor 1 only Creditors Who Have Claims Secured by Property:

UY Debtor 2 only

CQ) Debtor 1 and Debtor 2 only
Approximate mileage: (J) At least one of the debtors and another
Other information:

Year: Current value of the Current value of the

entire property? portion you own?

 

(} Check if this is community property (see $
instructions)

 

 

Official Form 106A/B Schedule A/B: Property page 2

 
Case 20-13252 Doc 1
Jones

 

 

 

 

 

Who has an interest in the property? Check one.

(CQ At least one of the debtors and another

C] Check if this is community property (see

Who has an interest in the property? Check one.

Debtor t Tyeisha
First Name Middle Name
3.3. Make:
Model: (J Debtor 1 only
y C) debtor 2 only
ear:
(C) Debtor 1 and Debtor 2 only
Approximate mileage:
Other information:
instructions)
3.4. Make:
Model: (CD Debtor 1 only
C2 debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

] Debtor 1 and Debtor 2 only
(CJ At east one of the debtors and another

CJ] Check if this is community property (see
instructions)

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Case number ( known)

 

Do not deduct secured claims or.exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule:D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the ©
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

a No
C) Yes

4.1, Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

42. Make:
Model:
Year:

Other information:

 

 

 

 

Who has an interest in the property? Check one.
C0 Debtor 1 only

J Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

(] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C] Debtor 1 only

CI Debtor 2 only

(J Debtor 1 and Debtor 2 only

CI At least one of the debtors and another

Do not deduct secured claims or exemptions.’ Put
the amount of any secured: claims on. Schedule D:
Creditors. Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors. Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

CJ) Check if this is community property (see $ $
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages 0.00
you have attached for Part 2. Write that number Were oon. ceccccsssssssesssssssesssssesaneesecsescssessnsessesesstsessnesesestessessssesensanereseseesaves > --—-—

Official Form 106A/B

 

Schedule A/B: Property

page 3

 

 
 

 

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Debtor 1 Tyeisha Case number (i known)

First Name Middle Name Last Name

 

Describe Your Personal and Household Items

 

Current value of the
portion you own?
Do not deduct:secured claims

. Do you own or have any legal or equitable interest in any of the following items?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
i Yes. Describe......... ‘bedroom furniture, living room furniture, dinette set ¢ 500.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
CJ No ~ L
Yes. Describe.......... itv laptop § 300.00
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
@ No
() Yes. Describe.......... $ 0.00
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
No sentence eo vo a sey
C) Yes. Describe.......... = 0.00
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
id No : ano 7 poe .
CQ Yes. Describe | $ 0.00
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
C) No :
i Yes. Describe.......... clothes, shoes, accessories ig 320.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
7, | No co enema!

 

C} Yes. Describe... $ 0.00

  

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

d No : ’
C) Yes. Describe.......... : $ 0.00

Loser and nemo ue sate. ter rnin stant

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

i@ No
Ul Yes. Give specific
information. .............

 

 

§ 0.00

 

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that mumber Mere o.......-eeccccsseeccesconscecssssnsseeecsosssssenessusssssssassneccesnssvsenssauecesersnssassessauestesssasesssstisscsssaravecessasenes >

 

 

s______1,120.00

 

Official Form 106A/B Schedule A/B: Property page 4
 

 

 

Case 20-13252, Doc1 Filed 03/11/20 Page 14 of 49

Debtor 1 Tyeisha Case number (i known}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name Middie Name Last Name
FRG v-scrive Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or: exemptions.
16. Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

UL} No

VES sess cecesesetecesnsnanersessuscessesnmesessssavecseesssnsseceesssseesssoqcusssssssssiearsnsusecesstsasectassssavessessstivussssstinegonssseeeeesesseccee CASH coccceccececceececce. $ 74.00

17. Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,

and other similar institutions. If you have multiple accounts with the same institution, list each.

No

7 Institution name:

17.1. Checking account: $ 0.00
17.2. Checking account: $ 0.00
17.3. Savings account: $ 0.00
17.4. Savings account: $ 0.00
17.5. Certificates of deposit: $ 0.00
17.6. Other financial account: 5 0.00
17.7. Other financial account: 5 0.00
17.8, Other financial account: $ 0.00
17.9. Other financial account: $ 0.00
18. Bonds, mutual funds, or publicly traded stocks

Examples: Bond funds, investment accounts with brokerage firms, money market accounts

W No

tS Institution or issuer name:

$ 0.00
0.00
§ 0.00
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in

an LLC, partnership, and joint venture

No Name of entity: % of ownership:

Ore cae pectic O% % 5 0.00
information abo! ° [nee
them... 0% % $ 0.00

0%  » § 0.00
Official Form 106A/B Schedule A/B: Property page 5

a a

 

 
 

 

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Debtor 1 Tyeisha Case number (if known)

First Name Middle Name Last Name

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.

Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No

(0 Yes. Give specific Issuer name:

information about 0.00

§ 0.00
§ 0.00

 

 

 

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
Cl Yes. List each
account separately. Type of account: Institution name:
4014(k) or similar plan: $ 0.00
Pension plan: $ 0.00
IRA: $ 0.00
Retirement account: $. 0.00
Keogh: $ 0.00
Additional account: $ 0.00
Additional account: $ 0.00
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

id No

oe Institution name or individual:
Electric: $ 0.00
Gas: $ 0.00
Heating oil: $ 0.00
Security deposit on rental unit: $ 0.00
Prepaid rent: g 0.00
Telephone: $ 0.00
Water: $ 0.00
Rented fumiture: $ 0.00
Other: $ 0.00

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
Oe Issuer name and description:
0.00
0.00

 

$ 0.00

Official Form 106A/B Schedule A/B: Property page 6

 

 
 

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Debtor 1 Tyeisha Case number (i known)

First Name Middle Name Last Name

 

24. interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

 

 

 

 

 

 

YW No
CD VES nent Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
5 0.00
0.00 $ 0.00
0.00
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
Y No
Q) Yes. Give specific
information about them... .§ 0.00
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
W No
C] Yes. Give specific
information about them....! $ 0.00

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

No
C] Yes. Give specific

 

 

information about them... 0.00
Money or property owed to you? Current value of the
portion you own?
Do not deduct secured

claims or exemptions.

28. Tax refunds owed to you

YW No

 

 

 

Q) Yes. Give specific information Federal: $ 0.00
about them, including whether ,
you already filed the returns | State: $ 0.00
and the t ANS. cecccsssnteesnesecetens '
@ tax ye: | Local: $ 0.00
29, Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
No
Q) Yes. Give specific information..............
Alimony: $ 0.00
Maintenance: $ 0.00
Support: $ 0.00
Divorce settlement: $ 0.00
Property settlement: $ 0.00

 

 

30, Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid joans you made to someone else

No
C) Yes. Give specific information..............

‘3 0.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 7

 

 
 

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Debtor 1 Tyeisha Case number (if known)

First Name Middle Name Last Name

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowners, or renter’s insurance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
Q) Yes. Name the insurance company — Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...
0.00
0.00
0.00
32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.
id No - _
CJ Yes. Give specific information.............. ; 0.00
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue
id No oe es
C) Yes. Describe each claim...
es. D i $ 0.00
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims
i@ No
CJ Yes. Describe each claim. occu |
. ls 0.00
35. Any financial assets you did not already list
Q) No
C Yes. Give specific information $ 0.00
36. Add the dollar vaiue of all of your entries from Part 4, including any entries for pages you have attached
for Part 4, Write that murmber Mere 0.2.0... ccccsssssesessssssssssscsssnssssssssnssssenssssvvsseesensssetssssssecarassusecessssscesssescessestssivesssnsantuesessssenee > $ 74.00

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6,
CO Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions.
38. Accounts receivable or commissions you already earned
Q No
~ ~ eo oe
(J Yes. Describe.......
8.

 

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

C) No
CI Yes. Describe

 

 

Official Form 106A/B Schedule A/B: Property page 8
Case 20-13202 Doc1 Filed 03/11/20 Page 18 of 49

Debtor 1 Tyeisha Case number (known)

First Name Middle Name Last Name

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

No _. -
C) Yes. Describe.......: 5

41. Inventory
OQ) No — ee -
CQ) Yes. Describe....... 5

 

42. Interests in partnerships or joint ventures

C] No

(] Yes. Describe.......

 

 

 

Name of entity: % of ownership:
% $
% $
% $

 

43. Customer lists, mailing lists, or other compilations

 

 

 

 

 

 

 

 

 

 

 

 

LW No
CJ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
OQ) No |
C) Yes. Describe........
§
44. Any business-related property you did not already list
CL) No
LJ Yes. Give specific $
information .........
$
§
3
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00
for Part 5. Write that murmber here oo cccsccsesssssscsusssssssssessscscsscsssssescensnsnsnsnsasssssssssesssssssceesssecqranpessssssisesevssesessesesesesttecsecssesess »> a

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

@ No. Go to Part 7.
CJ Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
CJ No
7: ; 1
$

 

Official Form 106A/B Schedule A/B: Property page 9

 

 
 

 

Case 20-13252 Doc1 Filed 03/11/20 Page 19 of 49

Debtor 1 Tyeisha Case number (known) __

First Name Middle Name Last Name

 

48. Crops—either growing or harvested

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CJ No
C) Yes. Give specific
information. ............ $
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
{] No
CD Ves oi cccsccceseeeee
$
50. Farm and fishing supplies, chemicals, and feed
CJ) No
CF YS oc cccccesecceeeee oo 1
i
§
51. Any farm- and commercial fishing-related property you did not already list
CJ No
(} Yes. Give specific
information. ............ 1g
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00
for Part 6. Write that number here oo. cccsccscsssssnssescscssnssnssessssssonsssssvssrusenensssnuuevsussessssssussssessanasssaveyssssesastssasastevesseussneenee > re
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
Ne r 0.00
C] Yes. Give specific So
information. ............ 0.00
| $ 0.00
54. Add the dollar value of all of your entries from Part 7. Write that number here 0... cccccccccccscsscsesccccccssscccecosssecccsssees > $ 0.00
List the Totals of Each Part of this Form
55. Part 1: Total real estate, Bm 2 oo. ccsssssssssesssesssssstmssssesecssssevevetsssstersusvanuuucsssseersnsasussseesessssstsavecossssssttitiessessistassteeseeecsesseseeeee > $ 0.00
56. Part 2: Total vehicles, line 5 $ 0.00
57. Part 3: Total personal and household items, line 15 $ 1,120.00
58. Part 4: Total financial assets, line 36 $ 74.00
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00
61. Part 7: Total other property not listed, line 54 +3 0.00
62. Total personal property. Add lines 56 through 61. ..........c....- $ 1,194.00 Copy personal property total > +$ 1,194.00

 

 

63. Total of all property on Schedule A/B. Add line 55 + line 620.0... cccssccessessessecssesssssecsecssessacsusacssesssseseceesecsessecceceeseece $ 1,194.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 10

 

 
 

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Fill in this information to identify your case:

Debtor? _Lyeisha Jones

First Name Middie Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number CQ Check if this is an
(if known) amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

WH You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
Q) You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on . Current value of the. — Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property portion you.own
Copy the value from Check only one box foreach exemption.
Schedule A/B
Soseripton: bedroom furniture $250.00 O¢ 11-504(b)(4)
Line from 100% of fair market value, up to
Schedule A/B: 6 any applicable statutory limit
Bret ton livingroom «$200.00 (1s 11-504(b)(4)
Line from 6 100% of fair market value, upto
Schedule A/B: any applicable statutory limit
doseription: dinnette set == $50.00 Os 11-504(b)(4)
Line from id 100% of fair market value, upto
Schedule A/B: 6. any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

W No

CJ yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

C) No
QO Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

 

 
Debtor 1

Tyeisha

Case 20-13252 Doc 1
Jones

 

First Name

Middte Name

Part 2 Additional Page

Last Name

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Case number (i known),

 

 

Brief description of the property and line
on Schedule A/B that lists this. property

Brief
description:

Line from
Schedule A/B:
Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:
Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:
Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Official Form 106C

Current value of the
portion you own

Amount of the-exemption you claim

Check only one box for each exemption

 

 

4d 100% of fair market value, up to

 

ed 100% of fair market value, up to

 

C) 100% of fair market value, up to

 

 

C) 100% of fair market value, up to

 

(2) 100% of fair market value, up to
any applicable statutory limit

 

C) 100% of fair market value, up to

 

C2 100% of fair market value, up to
any applicable statutory limit

 

(J 100% of fair market value, up to

 

CQ 100% of fair market value, up to

 

CJ 100% of fair market value, up to

 

C2} 100% of fair market value, up to
any applicable statutory limit

Copy the value from
Schedule A/B
laptop $ 150.00 O¢
ft any applicable statutory limit
iv GF 150.00 (i$
7 any applicable statutory limit
clothes $ 200.00 O¢
At any applicable statutory limit
shoes $ 100.00 Qs
11
CO any applicable statutory limit
accessories $ 20.00 Os
jt
$ Os
—_—— any applicable statutory limit
$ Qs
$ C$
—— any applicable statutory limit
$ Os
_ any applicable statutory limit
$ Os
none any applicable statutory limit
$ Os
$ Os

 

(2) 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

 

Specific laws that allow exemption

11-504(b)(4)

 

11-504(b)(4)

 

 

 

 

 

 

 

 

 

 

 

page 2 of 2

 
Case 20-13252 Doc1 Filed 03/11/20 Page 22 of 49

Fill in this information to identify your case:

Debtorri  lyeisha Jones
First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number : wo
(if known) (J Check if this is an

amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do any creditors have claims secured by your property?
@ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
() Yes. Fill in all of the information below.

List AH Secured Claims
Colunin'A ~ CoumB. Column

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately amount of claim Value of collateral Unsecured ~
for each claim, {f:more than one-creditor has a particular claim, list the other creditors in Part 2. Do not deduct the that supports this portion

 

 

 

 

 

As much as possible, list the claims in alphabetical order.according to the creditor's name. value of collateral: claim... - IRany
[2.1] Describe the property that secures the claim: $ $ $
Creditors Name
Number Street

 

 

 

 

As of the date you file, the claim is: Check all that apply.
OQ Contingent

 

 

Q) unliquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Q) Debtor 4 only CJ An agreement you made (such as mortgage or secured
QO) pebtor 2 only car loan)
(J Debtor 4 and Debtor 2 only QO Statutory lien (such as tax lien, mechanic's lien)
Cl At least one of the debtors and another O) Judgment lien from a lawsuit

C1 Other (including a right to offset)
QC) Cheek if this claim relates to a

 

 

community debt
Date debt was incurred Last4 digits of accountnumber
[ 2.2} Describe the property that secures the claim: $ $ $

 

 

 

Creditors Name

 

 

 

 

 

 

Number Street ‘

As of the date you file, the claim is: Check all that apply. :
QO Contingent

i QO Unliquidated

City State ZIP Code OQ) bisputed :

_ Who owes the debt? Check one. Nature of lien. Check all that apply.

/ CJ Debtor 1 only (An agreement you made (such as mortgage or secured

2 Debtor 2 only car loan)

| (Q) Debtor 1 and Debtor 2 only (2 Statutory lien (such as tax lien, mechanic's lien)

i . .

» (J Atleast one of the debtors and another C1 Judgment lien from a lawsuit

CJ Other (including a right to offset)
C3 Check if this claim relates to a
community debt

_.~ate debt was incurred Last 4 digits of accountnumber
Add the dollar value of your entries in Column A on this page. Write that number here: pb __ 0.00 |

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

 

 
Fil in this information to identify your case:

Debtor 1 Tyeisha

 

Page 23 of 49

 

First Name Middle Name Last Name

Debtor 2

 

(Spouse, if filing) First Name
United States Bankruptcy Court for the: District of

Case number
(If known)

 

 

J) Check if this is an
amended filing

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also fist executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left, Attach the Continuation Page to this page. On the top of

any additional pages, write your name and case number (if known).

4. Do any creditors have priority unsecured claims against you?

List All of Your PRIORITY Unsecured Claims

 

Gd No. Go to Part 2.

C) Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list-the creditor separately for each claim. For
each claim listed, identify. what type of claim it is. Ifa claim has both priority and nonpriority amounts; list that claim here and. show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the ‘other creditors in Part 3.

(For-an explanation of each type of claim, see the instructions for this form inthe instruction booklet:)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim Priority _ © Nonpriority
ee <9 camount o-Camount.
2.1
Last 4 digits ofaccountnumber_ $ $ §
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Cily State ZIP Gode C1 Contingent
. QQ Unliquidated
Who incurred the debt? Check one. Q Disputed
C Debtor 1 only
Q Debtor 2 only Type of PRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only (2 Domestic support obligations
Atleast one of the debtors and another (1 Taxes and certain other debts you owe the government
QO) Check if this claim is for a community debt (2 Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
OQ No CQ Other. Specify
(J Yes
bz Last 4 digits ofaccountnumber $ $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City Slate ZIP Code (2 unliquidated

Who incurred the debt? Check one.

CJ Debtor 1 only

Q) Debtor 2 only

( Debtor 1 and Debtor 2 only

(CJ At least one of the debtors and another

Q Check if this claim is for a community debt

Is the claim subject to offset?
QJ No
Ch yes _

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

a Disputed

Type of PRIORITY unsecured claim:
CQ Domestic support obligations
Q) Taxes and certain other debts you owe the government

CI) claims for death or personal injury while you were
intoxicated

LD other. Specify

 

page 1 of 4S

 

 
 

Debtor 1

Part 2:

3. Do any creditors have nonpriority unsecured claims against you?

Tyeisha

First Name Middle Name

List All of Your NONPRIORITY Unsecured Claims

 

Case 20-13252 Dace Filed 03/11/2Q,,,,Page,24 of 49

Last Name

 

 

[) No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List ali of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one

 

 

 

 

nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed; identify what type of claim itis. Do notist claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part:3.If you have more than three nonpriority unsecured
claims fill out the Continuation. Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

Who incurred the debt? Check one.

f Debtor 1 only

CI Debtor 2 only

C) debtor 1 and Debtor 2 only

Q) Atleast one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?
i No
C) Yes

 

Schedule E/F: Creditors Who Have Unsecured Claims

} Total claim
bs] Beechfield Apartments Last 4 digits of accountnumber_9 O 0 O- 2 800.00
: Nonpriority Creditor’s Name $e NS
201 S Beechfield Road When was the debt incurred? 91/01/2009
Number Street
Baltimore MD 21229
City State ZIP Code As of the date you file, the claim is: Check all that apply.
wW Contingent
Who incurred the debt? Check one. {) unliquidated
Debtor 4 only QO Disputed
C) debtor 2 only
LJ Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C1 Atleast one of the debtors and another 2 student loans
OQ Check if this claim is for a community debt Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? (J Debts to pension or profit-sharing plans, and other similar debts
No W other. Specify contract
U] Yes
42 | Capital One Auto Last 4 digits of account number 8 4 O 7 s___ 9,913.00 -
Nonpriority Creditor’s Name When was the debt incurred? 3/15/2018
PO BOX 259407
Number Street
Plano T™ 75025 As of the date you file, the claim is: Check all that apply.
City State ZIP Code w Contingent
Who incurred the debt? Check one. Q) unliquidated
@ debtor 1 only Q) Disputed
CO) debtor 2 only ,
C) Debtor 1 and Debtor 2 ont y Type of NONPRIORITY unsecured claim:
C) Atleast one of the debtors and another O Student loans
a | . Q Obligations arising out of a separation agreement or divorce
Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? 1 Debts to pension or profit-sharing plans, and other similar debts
no & other. Specify contract
C) Yes
3" | Capital One Last 4 digits of account number 8 4 0 7 758.00
Nonpriority Creditors Name When was the debt incurred? 06/25/2017 —
PO BOX 30281
Nurnber Street
Salt Lake City UT 84130 a
City Sune TIP Gode As of the date you file, the claim is: Check ail that apply.

wf Contingent
C) unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to Pension or profit-sharing plans, and other similar debts
ff Other. Specify_contract

 

 
Debtor 1 Tyeisha

Case 20-13252 Dawd Filed 03/11/20... Page,25,0f 49

 

First Name Middle Name Last Name

Par: Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this. page, number them beginning with 4.4, followed by 4.5, and so forth: Total claim.
4.4 . Li 4 digi f ibe 8 4 0 7
Department of Education ast 4 digits of account number _O Vf 3 10,876.00.
Nonpriority Creditors Name . 09 /2. 4 /201 5 :
PO BOX 5609 When was the debt incurred?
Number Street ee,
Greenville ™ 75403 As of the date you file, the claim is: Check all that apply.
City State ZIP Code @ Contingent
Q) unliquidated
Who incurred the debt? Check one. C) pisputed
Wd Debtor 1 only
C) Debtor 2 onty Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only QO) Student loans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
CJ Cheek if this claim is for a community debt you did not report as priority claims .
C2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? © other. specify Contract
a No
Q) ves
4.5
Directv Last 4 digits of account number O O O 0. ¢ 485.00
Nonpriority Creditor's Name i
PO BOX 78626 When was the debt incurred? 01/01/2017
Number Street
: the dat im is: .
Phoenix AZ 85062 As of the date you file, the claim is: Check all that apply.
City State ZIP Code wf Contingent
2 unliquidated
Who incurred the debt? Check one. ©) Disputed
@ Debtor 1 only
(2) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O) Student toans
At least one of the debtors and another im Obligations arising out of a separation agreement or divorce that
CJ Check if this claim is for a community debt you did not report as priority claims .
Cl Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Wf other. Specify contract
Wf No
C) Yes
K.6 | 5 1,143.00.

John Hopkins Federal Credit Union

 

 

 

Nonpriority Creditor's Name

2027 E Monument Street

Number Street

Baltimore MD 21205
City State ZIP Code

Who incurred the debt? Check one.

Wd Debtor 1 only

Q) Debtor 2 only

C) Debtor 1 and Debtor 2 only

( Atleast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

UW No
QO) Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page ~ of

Last 4 digits of account number 8 4 0 TT
When was the debt incurred? 92/22/2017

As of the date you file, the claim is: Check all that apply.

yf Contingent
QO Unliquidated
OQ Disputed

Type of NONPRIORITY unsecured claim:

CQ) Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts

i other. Specify contract

 

 
 

Debtor 4 Tyeisha

 

First Name Middle Name Last Name

Case 20-13252 Drones Filed 03/11/2QsePage,28,0f 49

 

ea Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“Total faim
A ani Last 4 digits of account number 8 4 O 7
Middle Branch Apartments ast 4 digits of account number © Mf ¢ 3,100.00
Nonpriority Creditors Name
\ 2 07/01/2010
2868 Potee Street When was the debt incurred
Number Street tan fee
Baltimore MD 21225 As of the date you file, the claim is: Check all that apply.
City State ZIP Code a Contingent
(2 unliquidated
Who incurred the debt? Check one. (2 Disputed
ef Debtor 1 only
CJ Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only ) Student foans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims 7
U) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specify Contract
W no
Q) ves
ad ” 0000 :
Progressive Leasing Last 4 digits of account number 0 0 O O- $431.00.
Nonpriority Creditors Name
. When was the debt incurred? 01/01/2017
256 Data Drive n © debt incu ————
Nember Street As of the date you file, the claim is: Check all that appl
Draper UT 84020 you file, : Check all that apply.
Giy State ZIP Code af Contingent
; oO Unliquidated
Who incurred the debt? Check one. Q pisputed
W@ Debtor 4 only
LJ Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O) Student toans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
) Check if this claim is for a community debt you did not report as priority claims .
(2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? W@ other. Specify contract
W@ no
C) Yes
4.9 | s 1,143.00.

Progress Insurance

 

 

 

Nonpriority Creditors Name

6300 Wilson Mills Road

Number Street

Mayfield VLG OH 44143
City State ZIP Code

Who incurred the debt? Check one.

td Debtor 1 only

L Debtor 2 only

Q) Debtor 1 and Debtor 2 only

CI At least one of the debtors and another

CQ Check if this claim is for a community debt

Is the claim subject to offset?

@ No
Cl Yes

Last 4 digits of account number 8 4 O 7
When was the debt incurred? 02/22/2017

As of the date you file, the claim is: Check all that apply.

wf Contingent
() Untiquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CD Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

LJ Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify contract

a

page. of >

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

 

 

 
 

Debtor1  Tyeisha Case 20-13252 Dowed Filed 03/11/20... Page. 27 of 49

First Name Middle Name Last Name

a Add the Amounts for Each Type of Unsecured Claim

_ 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

 

 

 

Total.claim
Total claims 6a. Domestic support obligations 6a. $ 0.00
from Part 1 6b. Taxes and certain other debts you owe the
government 6b. 0.00
6c. Claims for death or personal injury while you were
intoxicated 6c. $ 0.00
6d. Other. Add ali other priority unsecured claims.
Write that amount here. 6d. 4 $ 0.00
6e. Total. Add lines 6a through 6d. 6e.
$ 0.00
Total claim
- Total claims 6f. Student loans 6f. $ 10,876.00
from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority 0.00
claims 6g. $ :
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. g 0.00
6j. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6. +s 15,773.00
6j. Total. Add lines 6f through 6i. Gj. § 26,649.00

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page? of 9__
Case 20-13252 Doc1 Filed 03/11/20

Fill in this information to identify your case:

Debtor Tyeisha Jones

First Name Middle Name Last Name

 

Debtor 2
(Spouse ff filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number
(if known)

 

 

 

Official Form 106G

 

Schedule G: Executory Contracts and Unexpired Leases 1245

 

Page 28 of 49

UL) Check if this is an
amended filing

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

i No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
CQ) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and

unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

24

 

Name

 

Number Street

 

City State ZIP Code

2.2

 

Name

 

Number Street

 

ity . State _...AIh Code

 

 

2.3

 

Name

 

Number Street

 

 

- State... ZIP Code
24

 

Name

 

Number Street

 

 

 

woe MY canna neolate ZIP Code
25

 

Name

 

Number Street

 

City State ZIP Code

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of 1
Case 20-13252 Doc1 Filed 03/11/20 Page 29 of 49

Fill in this information to identify your case:

Debtor 1 Tyeisha

First Name Middle Name.

Debtor 2
{Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of

Case number
{if known)

 

 

CJ Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equaily responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

. 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

4 No
) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

@ No. Go to line 3.
Cl] Yes. Did your spouse, former spouse, or legai equivalent live with you at the time?

QO) No

C) Yes. tn which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

| 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you. owe the debt
Check all schedules that apply:
3.1
CQ) Schedule D, line
Name TO
QO) Schedule E/F, line
Number Street C) Schedule G, line
a) fee eet cement ee ey te ER omens a IP Code
3.2
QO) Schedule D, line
Name —
(2 Schedule E/F, line
Number Street QO) Schedule G, line
BY ec csueturtnmn ennevsnunnn pence er ENO tee ea el COd@
3.3
OQ) Schedule D, line
Name _—
2 Schedule E/F, line
Number Street QC) Schedule G, line
I ce canteen sae ee SEARO cosas es amen IP COd@

Official Form 106H Schedule H: Your Codebtors page 1 of 1

 
 

Case 20-13252 Doc1 Filed 03/11/20 Page 30 of 49

Fill in this information to identify your case:

Debtor 1 Tyeisha Jones

First Name Middie Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: District of

Case number Check if this is:

(If known)
LI) An amended filing

ClA supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 MM? DDI YYYY
Schedule I: Your Income 42/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

4. Fill in your employment
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

 

 

If you have more than one job,

attach a separate page with
information about additional Employment status #1 Employed C) Employed
employers. CO Not employed CI Not employed

Include part-time, seasonal, or
self-employed work. . :

ey Occupation Service Coordinator
Occupation may include student

or homemaker, if it applies.
Employer’s name Mosaic

Employer's address 1925 Greenspring Drive
Number Street Number Street

 

 

Timonium MD 21093
City State ZIP Code City State ZIP Code

 

How tong employed there? 2.5 years 2.5 years

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing. spouse
2, List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 3 360.00 $
3. Estimate and list monthly overtime pay. 3. +$ 0.00 + ¢
4, Calculate gross income. Add line 2 + line 3. 4. | § 3,360.00 $

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1
Case 20-13252 Doc1 Filed 03/11/20 Page 31 of 49

 

 

 

Debtor 1 Tyeisha Jones _ Case number (known)
First Name Middle Name Last Name
For Debtor 1 For Debtor.2 or
non-filing spouse
Copy line 4 Mere... cccecccccccscsccsessscsessessesssassscssssesecsuvsesseentsvesssseenesensersavanes >4. $3,360.00 $

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. $ 388.00 $
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $
5c. Voluntary contributions for retirement plans 5c. $ 0.00 $
5d. Required repayments of retirement fund loans 5d. $ 0.00 $
5e. Insurance 5e. $ 0.00 $
5f. Domestic support obligations 5f. $. 0.00 $
5g. Union dues 5g. $ 0.00 $
5h. Other deductions. Specify: 5h. +3 0.00 +4
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d+5e+5f+5g+5h. 6. §$ 0.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. g__ 2,972.00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total 5 0.00 $

monthly net income. 8a.
8b. Interest and dividends 8b. §$ 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce $ 0.00 $

settlement, and property settlement. 8c. :
8d. Unemployment compensation 8d. §$ 0.00 $
8e. Social Security 8e. §$ 771.00 $
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: Food stamp a) 241.00 $
8g. Pension or retirement income 8g. $ 0.00 $
8h. Other monthly income. Specify: 8h. + $ 0.00 +§$

. 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + Bf +8g + 8h. gs. | ¢ 1,012.00 $
10. Calculate monthly income. Add line 7 + line 9. 3. 984.00 0.00 |— 3.984.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10, $F] ~ = /6 Se

 

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

 

Specify: Food stamp 1.# § 0.00

12, Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. - 3 9 3 4.00

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. S___2.Von
Combined

monthly income
_ 13.Do you expect an increase or decrease within the year after you file this form?

Wi No.

 

C) Yes. Explain:

 

 

 

Official Form 1061 Schedule I: Your Income page 2

 
 

 

Case 20-13252 Doc1 Filed 03/11/20 Page 32 of 49

Fill in this information to identify your case:

Tyeisha Jones tea:
Debtor 1 ye st — Check if this is:

 

Debtor 2 LJ An amended filing

(Spouse, if filing) First Name Middie Name Last Name
. OhA supplement showing postpetition chapter 13
United States Bankruptcy Court for the: District of expenses as of the following date:

Case number MM / DD/ YYYY
(if known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ae Describe Your Household

 

 

1. Is this a joint case?

W No. Goto line 2.
LJ Yes. Dees Debtor 2 live in a separate household?

() No
(3 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? C) No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and w Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... eee O
Do not state the dependents’ child 11 a No
names, Yes
child 9 Q) No
4 Yes
child 1 C1 No
| Yes
CJ No
UL) Yes
CJ No
OQ Yes
3. Do your expenses include W No

expenses of people other than QO
yourself and your dependents? — Yes

part 2: | Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule [: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and $ 1,255.00
any rent for the ground or lot. 4.
If not included in line 4:
4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. § 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1

 
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Debtor 4 Tyeisha Jones

First Name Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

10.
11.

12.

13.
14.

16.

17.

18.

19.

20.

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, saiellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

. Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Specify:

 

Case number (i known)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

 

6a.
6b.
6c.
6d.

10.
11.

12.
13.

14.

15a.
15b.
15c.
15d.

16.

17a.
17b.
17c.

17d.

18.

19.

20a.
20b.
20c.
20d.
20e.

Your expenses

$

AA Ff FF FF FF HF

A Ff GF Ld

Pr FF Ff Ff

AF FH SF

 

0.00

300.00
0.00

400.00
0.00

650.00
500.00
100.00
300.00

0.00

150.00

0.00
0.00

0.00
0.00

0.00
0.00

0.00

0.00
0.00
0.00
0.00

0.00

0.00

0.00

0.00
0.00
0.00
0.00

page 2

 
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Debtor 1 Tyeisha Jones Case number (if known),

First Name Middie Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

Wi No.

Q) Yes. Explain here:

Official Form 106J Schedule J: Your Expenses

 

21.

22a.

22b.

22¢.

23c.

 

+5 0.00
oo
s 3,655.00
is 0.00
ls 3,655.00
[nn

5 3,984.00
~$ 3,655.00

5 329,00

 

 

page 3

 

 

 
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Fill in this information to identify your case:

Debtor 4 Tyeisha Jones

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of

Case number
{if known}

 

 

 

Official Form 106Dec

 

Page 35 of 49

CQ Check if this is an
amended filing

Declaration About an Individual Debtor’s Schedules 4215

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

CQ) No

© Yes. Name of person !awana Lee . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

that they are true and correct.

xo, Cc) —— x

 

Signature of Debtor 2

Date
MM/ DD / YYYY

 

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules

 
 

 

Case 20-13252 Doc1 Filed 03/11/20 Page 36 of 49

Fill in this information to identify your case:

Debtor1  lyeisha Jones

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name

 

United States Bankruptcy Court for the: District of

Case number
(if known)

 

CY Check if this is an
amended filing

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

O Married
a Not married

2. During the last 3 years, have you tived anywhere other than where you live now?
w No

CD Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor1 | Debtor 2: Dates Debtor 2
lived there lived there
CQ same as Debtor 1 ( same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
QO Same as Debtor 1 QO Same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

 

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
States and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

C} No
w Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

 

 
 

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Debtor1 _lyeisha Jones

Case number (i known)
First Name Middie Name Last Name

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

LJ No
i Yes. Fill in the details.

 

Sources. of income Gross income. Sources of income Gross income
Check all that apply: (before deductions and. Check all that apply. (before deductions and
exclusions) exclusions)

From January 1 of current year until a Wages, commissions, $ 0.00 Q Wages, commissions.
the date you filed for bankruptcy: OnUseS, NPS ——. nUSeS, Tips

Q) Operating a business Q Operating a business
For last calendar year: | Wages, commissions, Q Wages, commissions,

, bonuses, tips $ 22,346.00 bonuses, tips $
(January 1 to December 31,2018 __) a] Operating a business ) Operating a business
For the calendar year before that: 4 Wages, commissions, C) Wages, commissions,
bonuses, tips $ 39,245.00 bonuses, tips

(January 1 to December 31,2017 _) ) Operating a business - CL) Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

CL] No
i Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe below. each source
(before.deductions and (before deductions and
exclusions) exclusions)
. Si :
From January 1 of current year until $771.00
the date you filed for bankruptcy: $ $
$
For last calendar year:
(January 1 to December 31,2018 _) SSI $ 9,252.00
YYYY
For the calendar year before that:
(January 1 to December 31,2017 __)
YYYY Oe
$

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 
Debtor 1 Tyeisha

First Name

Case 20-13252 Doc1 Filed 03/11/20 Page 38 of 49

Jones Case number (known),

Middle Name Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

C) No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

CB Na. Go to line 7.

W Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

Di ves. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

W No. Go to line 7.

LJ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Creditors Name

Dates of Total-amount paid Amount you still owe
payment

 

Number

Street

 

 

City

State ZIP Code

 

Creditors Name

 

Number

Street

 

 

City

State ZIP Code

 

Creditors Name

 

Number

Street

 

 

City

State ZIP Code

Was this payment for...

J Mortgage

Qi car

U) credit card

C Loan repayment

Q Suppliers or vendors
(J other

OQ Mortgage

LL) car

CI credit card

| Loan repayment

CQ) Suppliers or vendors

Q Other

a Mortgage

QO) car

CJ credit cara

Q Loan repayment

Q Suppliers or vendors
CI) other

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 3

 
 

Debtor1  Tyeisha

First Name

Middie Name Last Name

Case 20-13252 Doc1 Filed 03/11/20 Page 39 of 49

Jones

Case number (ifknown)

 

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;

corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony.

A No

CD Yes. List all payments to an insider.

 

 

 

 

 

Dates of Total_amount Amount you still
payment paid owe
$ $
Insider's Name
Number Street
City State ZIP Code
$ $

 

Insider's Name

 

Number Street

 

 

City

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

State ZIP Code

Include payments on debts guaranteed or cosigned by an insider.

A No

Q) Yes. List all payments that benefited an insider.

 

 

 

 

 

Dates. of Total amount . : Amount you still
payment paid owe
Insider's Name $ $
Number Street
City State ZIP Code
$ $

 

insider's Name

 

Number Street

 

 

City

Official Form 107

State ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

 

Reason for this payment

Reason for this payment
Include creditor's name

page 4

 
 

 

 

 

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Debtor1  1yeisha Jones

Case number (if mown)
First Name Middie Name Last Name

 

 

Ey Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

UM No

UL) Yes. Fill in the details.

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title ‘Sourt Name ) Pending
OQ On appeal
‘Number Street Q Concluded
Case number
City State ZIP Code
Case title ‘Court Name C) Pending
Cd on appeal
‘Number Street CI) conciuded
Case number
City State ZIP Code

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details betow.

WH No. Goto line 11.
CJ Yes. Fill in the information below.

 

 

 

 

 

 

 

 

 

 

Describe the property Date Value of the property
_ $
Creditors Name
Number Street Explain what happened
C1 Property was repossessed.
QO Property was foreclosed.
{) Property was garnished.
City State ZIP Code | Property was attached, seized, or levied.
Describe the property Date Value of the property
$
Creditors Name
Number Street ~ en
Explain what happened
C) Property was repossessed.
QO) Property was foreclosed.
oy Sila Zp Gods Q Property was garnished.
CL) Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 
 

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Debtor 1 Tyeisha Jones Case number (known)

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

Wi No

C) Yes. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditors Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX- __

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?
No
C] Yes

 

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

i No
C] Yes. Fill in the details for each gift.

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person ch sah heer ate _., the gifts
- $
Person to Whom You Gave the Gift
$

 

 

Number = Street

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

 
 

Case 20-13252 Doc1 Filed 03/11/20 Page 42 of 49

Debtor 1 Tyeisha Jones Case number (if known)
First Name Middie Name Last Name

 

14, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

W No

() Yes. Fill in the details for each gift or contribution.

 

Gifts or contributions to. charities Describe what you contributed Date you Value
that total more than $600. contributed
$
Charity’s Name
$

 

 

 

Number Street

 

City State ZIP Code

Ea List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

W No

() Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value.of property
how the.loss occurred . we ae oe loss lost
Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

aa List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

Wf No
(J) Yes. Fill in the details.

 

 

 

Description and value.of any property transferred Date payment or - Amount of payment
transfer was
Person Who Was Paid ALE clo Soa aos on beard , Made
Number Street i : $
$

 

City State ZIP Code

 

Email or website address

 

 

Person Who Made the Payment, if Not You

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 

 

 
 

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Debtor 1 Tyeisha Jones Case number (if known)
First Name Middle Name Last Name
Description.and value of any property transferred Date payment or Amount of
transfer was made ‘payment

Person Who Was Paid
$

Number Street
$

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behaff pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not inciude any payment or transfer that you listed on line 16.

W No

CQ Yes. Fill in the details.

 

 

 

 

Description and value of any property.transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
3

 

City State ZIP Code

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not inciude gifts and transfers that you have already listed on this statement.

W No

(2 Yes. Fill in the details.

Description and value of property. Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person’s relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 

 

 

 

 
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Debtor 1 Tyeisha Jones Case number (i known)
First Name Middle Name Last Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

WY No

C) Yes. Fill in the details.

Description and value of the property transferred Date transfer
(was made

Name of trust

 

List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

W No

C) Yes. Fill in the detaits.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, . closing or transfer
or transferred
Name of Financial Institution
XXXX— C checking $
Number Street C) Savings

C) Money market

 

Q Brokerage
C other. ne

 

City State ZIP Code

 

 

 

XXXX-_ C checking $
Name of Financial Institution
QO Savings
Number Street Q Money market
C] Brokerage
Q Other

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

W@ No

C2] Yes. Fill in the details.

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you stil!
have it?
TI No
Name of Financial Institution Name OQ) Yes
Number Street Number Street
City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 

 

 
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Debtor 1 Tyeisha Jones Case number (if known)
First Name Middle Name. Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
Yu No
Q Yes. Fill in the details.

 

 

Who else has or had access to it? Describe the contents Do you still
_ have it?
QC) No
Name of Storage Facility Name : O Yes
Number Street Number Street

 

CityState ZIP Code

 

City State ZIP Code

identify Property You Hold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
@ No
C) Yes. Fill in the details.
Where is the property? Describe the property Value

 

Owner’s Name $

 

 

Numb Street
Number Street

 

 

 

City State ZIP Code

 

City State ZIP Code

roe Give Details About Environmental Information

 

 

For the purpose of Part 10, the following definitions apply:

2 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

# Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

s Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Zi no

C) Yes. Fill in the details.

 

 

 

Governmental unit Environmental law, if:-you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 
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Debtor 1 Tyeisha Jones Case number (7 known)
First Name Middle Name Last Name

 

25.Have you notified any governmental unit of any release of hazardous material?

@ No

Q) Yes. Fill in the details.

 

 

 

 

Governmental unit Environmental law, if you. know it Date of notice
| |
i Name of site Governmental unit i
: Number Street Number Street i
: i
i City State ZIP Code ;

City State ZIP Code i

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

UW No

C) Yes. Fill in the details.

 

 

 

 

 

Court or agency Nature of the case sen ofthe
Case title
Court Name Q Pending
OC) on appeal
Number Street O Concluded
Case number City State ZIP Code

er Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
U Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
C A member of a limited liability company (LLC) or limited liability partnership (LLP)
Cha partner in a partnership
C2] An officer, director, or managing executive of a corporation

 

C) An owner of at feast 5% of the voting or equity securities of a corporation

W@ No. None of the above applies. Go to Part 12.
CQ) Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer identification number
_ Do not include Social Security number or ITIN.

 

Business Name

' EIN: -

 

Number Street . peep atnn ; .
Name of accountant or bookkeeper Dates business existed

 

- From To

 

City State ZIP Code oe : . ey i te ee
Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

 

Business Name

 

Number Street : ,
Name of accountant or bookkeeper Dates business existed

 

_ From To

 

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 
 

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Debtor 1 Tyeisha Jones Case number (i known),
First Name Middle Name Last Name

Employer identification number.
Do not include Social Security number or JTIN.

Describe the nature of the business

 

Business Name

 

 

EIN:
Number Street Name of accountant or bookkeeper Dates business existed
_ From _ To

 

City State ZIP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

UW No

C) Yes. Fill in the details below.

Date-Issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x

Signature of Debtor 2

 

 

Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

w No
QC] Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

C) No

J Yes. Name of person }awana Lee . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 
 

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United States Bankruptcy Court

District of Maryland
In Re: Tyeisha Jones Case Number:
Debtor(s) Chapter: 7

VERIFICATION OF CREDITOR MATRIX

The above named Debtors hereby verify that the attached list of creditors is true and correct to the best of their
knowledge.

oD [pers Signature of Debtor(s): YT

 
 

Case 20-13252 Doc 1

Beechfield Apartments
201 S Beechfield Road
Baltimore, MD 21229

Capital One Auto
PO BOX 259407
Plano, TX 75025

Capital One
PO BOX 30281
Salt Lake City, UT 84130

Department of Education
PO BOX 5609
Greenville, TX 75403

Directv
PO BOX 78626
Phoenix, AZ 85062

John Hopkins Federal Credit Union
2027 E Monument Street
Baltimore, MD 21205

Middle Branch Apartments
2868 Potee Street
Baltimore, MD 21225

Progressive Leasing
256 Data Drive
Draper, UT 84020

Progress Insurance
6300 Wilson Mills Road
Mayfield VLG, OH 44143

 

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